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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

PATSY WIDAKUSWARA, JESSICA JERREAT,
KATHRYN NEEPER, JOHN DOES 1-4,                           Case No. 1:25-cv-01015-RCL
REPORTERS SANS FRONTIÈRES,
REPORTERS WITHOUT BORDERS, INC.,
AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL EMPLOYEES
(AFSCME), AMERICAN FEDERATION OF
GOVERNMENT EMPLOYEES (AFGE),
AMERICAN FOREIGN SERVICE
ASSOCIATION (AFSA), and THE
NEWSGUILD-CWA,
                Plaintiffs,

       -against-

KARI LAKE, in her official capacity as Senior
Advisor to the Acting CEO of the U.S. Agency for
Global Media; VICTOR MORALES, in his
official capacity as Acting CEO of the U.S.
Agency for Global Media; and U.S. AGENCY
FOR GLOBAL MEDIA,

                       Defendants.



REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN FURTHER SUPPORT
       OF PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION


                     Emery Celli Brinckerhoff Abady Ward & Maazel LLP
                             Government Accountability Project
                   American Federation of Government Employees, AFL-CIO
                            American Foreign Service Association
         American Federation of State, County and Municipal Employees, AFL-CIO
                               Democracy Forward Foundation
                              State Democracy Defenders Fund
             Media Freedom and Information Access Clinic at Yale Law School
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                                PRELIMINARY STATEMENT

       This case is brought by a diverse coalition of plaintiffs who have varied, yet equally

compelling, interests in the continuation of the United States Agency for Global Media’s

(“USAGM”) statutorily mandated broadcast functions. Plaintiffs challenge the unlawful decision

to dismantle USAGM and to cease nearly all of its statutorily mandated duties. Plaintiffs ask for

emergency relief to, among other things, prevent Defendants from dismantling the Agency, which

would preclude any hope of resurrecting at final judgment its vital, mandatory functions, and to

stop Defendants from their blatant viewpoint discrimination against USAGM staff, who produce

independent journalism Defendants have branded as “radical propaganda.”

       All parties agree that USAGM shut down all broadcasting operations, fired every single

one of its 598 personal service contractors, and put nearly all of its full-time equivalent staff on

administrative leave on March 15, the day after the EO. Second Thomas Decl. ¶¶ 3, 5. On that

date, all USAGM broadcast activity went silent and 94% of the agency’s workforce was shut out.

       Defendants also do not dispute (because they do not address), that Voice of America

(“VOA”), including its 49 worldwide language services that reached 360 million listeners, remains

offline to this day. Dkt. 16-18 ¶ 2; Dkt. 16-19 ¶ 5; Yazdgerdi Decl. ¶ 3. And the record shows

Defendants have no intention of resuming VOA’s mandatory broadcasts. To the contrary, they

have proposed to eliminate the entire bargaining unit of radio broadcast technicians, without whom

VOA cannot broadcast, see Dkt. 33-2 ¶¶ 3-6, and they intend to terminate an additional 594 VOA

employees, including international broadcasters, technicians, budget analysts, and electronics

engineers, see Dkt. 33-3 ¶¶ 3-5.

       To date, more than a month after being taken off the air, the only broadcast that has resumed

is the Office of Cuba Broadcasting (“OCB”), which is apparently being carried out by less than



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12% of the Agency’s pre-March 15 workforce. Dkt. 88-4 ¶¶ 6-7. 1 But as Judge Oetken found,

OCB is “hardly sufficient for USAGM’s affiliates to ‘reach a significant audience,’” as statutorily

required. Dkt. 54 at 14; see also 22 U.S.C.A. § 6202(c) (enumerating what VOA will do); nor can

it alone fulfill Congressional requirements to report on “each significant region of the world.” Id.

§ 6202(a)(7), (b)(5)-(7). Nor can OCB fill the national security gap VOA’s absence creates. See

Yazdgerdi Decl. ¶¶ 5-13. 2

       In now disavowing their intent to shutter the Agency, including VOA, Defendants also

ignore their own repeated assertions that the agency is “not salvageable.” See Dkt. 16-3 at 2 (Lake:

“This agency is not salvageable.”); Dkt. 16-7 at 2 (Lake: “Voice of America is unsalvageable”);

see also Dkt. 16-5 at 2 (Musk: “shut them down”). Nor do they acknowledge their baseless claims

that its employees amount to “spies and terrorist sympathizers and/or supporters” who engage in

“self-dealing,” “over-spending,” and amount to a “giant rot.” Dkt. 16-3 at 2; Dkt. 16-18 ¶¶ 6-8;

Dkt. 16-19 ¶¶ 11-12; Dkt. 16-21 ¶¶ 8, 10; Dkt. 16-22 ¶ 7. Defendants’ claims that it simply

effectuated a “pause” on agency functions is flat wrong. Dkt. 88 at 48




1
  Defendants say they “reinstated” all PSCs on March 28. In fact, they “advised [PSCs] that the
termination of [their] personal services contract[s are] on hold until further notice” on March 29,
the day after Judge Oetken entered a temporary restraining order requiring them to do so. Second
J.D. 4 Decl. ¶¶ 5-6.
2
  OCB accounts for less than five percent of the budget Congress appropriated for USAGM’s
federal entities. See Compl. ¶¶ 45-46 (citing appropriations laws). VOA, by contrast, accounts for
50.9% of the annual federal-entity budget. Per Congress’s express order, these funds are not
fungible without notice to Congress, and even with notice cannot be reallocated by more than five
percent. Id. ¶ 47.

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                                         ARGUMENT

I.      PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS

        A.      All Plaintiffs Have Standing

        Defendants begin by conceding that the individual named Plaintiffs and The News Guild-

CWA (“TNG-CWA”) have standing. Dkt. 88 at 14. That alone is enough for this case to move to

the merits on all claims. 3

        But Defendants are wrong that the public-sector unions (AFSCME, AFGE, AFSA) and

RSF/RSF USA (“RSF”) do not have organizational or associational standing. Starting with the

public-sector union’s organizational standing: A union representing federal employees is required

by statute to represent “the interests of all employees in the unit it represents.” 5 U.S.C.

§ 7114(a)(1). Plaintiffs’ opening submissions described at length how that responsibility extends

to responding to members’ concerns and trying to plug the information gap that USAGM has

created by its unilateral, unexplained actions. See Dkt. 16-16 ¶¶ 10-11; Dkt. 16-13 ¶¶ 10, 15-17,

20-21; Dkt. 16-14 ¶¶ 5, 12, 14, 17. The unions are expending significant resources to counteract

USAGM’s obstruction of their ability to perform their core services advising members about the

terms of their employment and the implication of Defendants’ actions. That is enough. See People

for the Ethical Treatment of Animals v. USDA, 797 F.3d 1087, 1094 (D.C. Cir. 2015).

        Defendants also do not mention their decisions to eliminate the entire AFSCME 1418

bargaining unit and terminate 594 AFGE members, thereby depriving both unions of dues and




3
 See UAW-Lab. Emp. & Training Corp. v. Chao, 325 F.3d 360, 362 (D.C. Cir. 2003); see also Dkt.
17 at 29-28 (TNG-CWA members harmed as employees and reputational harm); id. at 38-39
(TNG-CWA members harmed as listeners); id. at 27-28 (all Plaintiffs’ First Amendment rights
harmed); see also id. at 26 (TNG-CWA has First Amendment right to receive).

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existentially threatening AFSCME 1418. Nat’l Treasury Emps. Union v. I.R.S., No. CIV.A. 04-

CV-0820, 2006 WL 416161, at *2 (D.D.C. Feb. 22, 2006) (loss of dues confers standing).

       Regarding RSF’s organizational standing, Defendants ignore that VOA “frequently covers

RSF’s reports and advocacy efforts,” meaning that “loss of VOA weakens [RSF’s] ability to

amplify press freedom concerns throughout the world” and to distribute the organization’s work

product. Dkt. 16-15 ¶ 19.

       As to associational standing, Defendants ignore that the members of the labor organizations

and RSF produce programming for USAGM or its statutory grantees and suffer a First Amendment

harm by having their work silenced. See Dkt. 17 at 33-34, 35, see also id. at 27-28 (detailing

irreparable harm to all who are “involved in producing reporting for USAGM and its grantee

networks”). Defendants also wrongly claim that the public-sector union members do not face

“imminent” harm because they have merely been placed on administrative leave. This argument

is flatly inconsistent with their later insistence that the same exact action could be brought before

the MSPB as a prohibited personnel practice. See Dkt. 88 at 11-12. It also ignores, again, their own

stated “decision” to terminate 623 AFGE and AFSCME members. See Dkt. 33-2 at 5; Dkt. 33-3

at 6. As to RSF, Defendants ignore that RSF members rely on VOA broadcasts abroad to inform

their own reporting and their personal safety—facts detailed extensively at Dkt. 16-15. All

Plaintiffs plainly have standing on multiple grounds.

       B.      The Court Has Jurisdiction Over Plaintiffs’ Claims

       Defendants’ attempt to pick off the individual Plaintiffs on jurisdictional grounds fails for

the same reasons provided in Plaintiffs’ opposition to Defendants’ motion to dissolve the TRO and

Plaintiffs’ opening brief. See Dkt. 17 at 47-51; Dkt. 89 at 2-18. We incorporate those arguments

by reference and provide limited elaboration. See Kauffman v. Anglo-Am. Sch. of Sofia, No. CIV.A.



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88-3419 (RCL), 1991 WL 222423 at *2 (D.D.C. Oct. 17, 1991) (permitting incorporation by

reference).

               1.      Plaintiffs Are Not Channeled to an Administrative Agency

       To summarize, this Court has jurisdiction at least because multiple Plaintiffs have no

connection to federal employment (TNG-CWA, RSF, RSF USA). Defendants concede that one of

those plaintiffs, TNG-CWA, also has standing. But in fact, each Plaintiff in this case appropriately

invokes this Court’s jurisdiction to stop the unlawful shuttering of a statutorily mandated agency

because: this case simply does not implicate federal employment statutes; even if it did, the claims

at issue are not of a type that Congress intended to be channeled to agency adjudication; even if

Congress intended that these claims be channeled to the CSRA or OSC, its intent has been defeated

by the decimation of those bodies, contrary to the statutory scheme; and exercising jurisdiction

here is necessary to rein in USAGM’s violation of multiple clear statutory directives. See Dkt. 89

at 8-10 (elaborating on each point).

       Defendants rely primarily on AFSA v. Trump, No. 1:25-CV-352 (CJN), 2025 WL 573762

(D.D.C. Feb. 21, 2025). But, as noted in Dkt. 89 at 10, AFSA did not include plaintiffs without a

connection to federal employment. 2025 WL 573762, at *4 n.1. AFSA also acknowledged that “it

may be the case that . . . in the long run, plaintiffs’ assertions of harm could flow from their

constitutional and APA claims regarding the alleged unlawful ‘dismantl[ing]’ of USAID,” but that

the allegations of irreparable harm before the court at the preliminary injunction stage “flow[ed]

essentially from their members’ existing employment relationships with USAID.” Id. at *7. Not

so here, where the harms stem from USAGM’s incontrovertible cessation of nearly all its

statutorily mandated broadcasts and grant funding.

       Defendants then seek to distinguish Turner v. U.S. Agency for Global Media, 502 F. Supp.

3d 333 (D.D.C. 2020), despite recognizing its similarity, by claiming that this case is more closely
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tied to “working conditions.” There are at least two problems with that argument. First, Defendants

are inconsistent about whether being placed on administrative leave is a meaningful change to

working conditions—here they say yes, but as it relates to standing they say no. Second, part of

Judge Howell’s reasoning in finding the First Amendment Turner claim not channeled was that it

upended “background assumption behind doing journalism at VOA and the networks.” Id. at 367.

That upending is at its maximum here where Defendants have ceased all journalism at VOA. Sure,

ceasing all operations will more obviously affect employment relationships, but it also more

obviously precludes administrative agencies from ordering appropriate relief: No one contends

that the MSPB could order USAGM to start broadcasting its 49 language services again. Finally,

Turner, like AFSA, lacked non-federal-employee plaintiffs.

       USAGM can’t function without employees, so of course part of mandating that it continues

to exist and function requires precluding it from dispensing with everyone who does the work.

That doesn’t make this case merely about employment. See Nat'l Treasury Emps. Union v. Vought,

No. CV 25-0381 (ABJ), 2025 WL 942772 , at *46 (D.D.C. Mar. 28, 2025) (enjoining employee

terminations except terminations for cause in service of preserving CFPB), administratively

stayed, 2025 WL 996856.

               2.     The Tucker Act Does Not Divest this Court of Jurisdiction

       The Tucker Act does not divest this Court of jurisdiction over Doe 3 and 4’s pursuit of the

same claims that all plaintiffs in this case pursue—that Defendants are unlawfully dismantling

USAGM. While the Tucker Act provides the Court of Federal Claims with exclusive jurisdiction

over “contract claims against the government,” Does 3 and 4 do not assert contract claims.

Transohio Sav. Bank v. Dir., OTS, 967 F.2d 598, 609 (D.C. Cir. 1992), overruled in part on other

grounds, Perry Cap. LLC v. Mnuchin, 864 F.3d 591, 620 (D.C. Cir. 2017). Importantly, the fact

that a contract is involved is not enough to make a claim a “contract claim.” Id. The question is
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whether the claims “are founded only on a contract, or whether they stem from a statute or the

Constitution.” Transohio, 967 F.2d at 609 (emphasis added). The analysis is the same under the

Contract Disputes Act. See Ingersoll-Rand Co. v. United States, 780 F.2d 74, 76 (D.C. Cir. 1985).

       Does 3 and 4’s claims are not founded on a contract, let alone “only” on one. The “source

of rights” Does 3 and 4 assert derive from the Constitution and statute, not from their contracts.

See Compl. ¶¶ 102-160. The Complaint does not so much as mention the contracts’ terms or claim

they were breached. Indeed, Doe 3 and 4’s claims are no different from the claims of other non-

contractee Plaintiffs—so necessarily could not arise from contracts the other Plaintiffs do not have.

While Defendants’ brief details various provisions of Plaintiffs’ contracts, those terms are beside

the point. 4 Where, as here, “there is no question of whether the contract forbids termination,” but

rather “only a question of whether the Constitution,” or statute, “forbids it,” that claim is not a

“contract action.” Navab-Safavi v. Broadcasting Bd. of Governors, 650 F. Supp. 2d 40, 68 (D.D.C.

2009) (discussing VOA personal services contractor’s First Amendment claim against USAGM

predecessor).

       The “type of relief sought” likewise is not contractual. Plaintiffs seek an injunction barring

Defendants from unlawfully dismantling USAGM—which wiping out USAGM’s workforce

(including terminating the freelance contractor journalists) would do. Even if that injunctive relief

might in some ways have similar effects to ordering specific performance on Does 3 and 4’s (and



4
  While Defendants object that Plaintiffs did not file copies of their contracts with their motion,
Dkt. 88 at 16, their claims do not depend on any contract term, making such filing
unnecessary. Moreover, after Defendants demanded them, Plaintiffs provided copies of Does 3
and 4’s contracts with their personal information redacted. Id. at 16 n.3. As for defense counsel’s
demand for the Doe plaintiffs’ identities, the Doe Plaintiffs have moved to proceed
pseudonymously—including by keeping their identities from Defendants—given their legitimate
fears of retaliation by the Defendants themselves. Dkt. 14. Defendants have not filed an opposition
to that pending motion.

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other PSCs’) contracts, district courts are not “forbidden from granting injunctive relief merely

because that relief might be the equivalent of ordering specific performance of a government

contract.” Transohio, 967 F.2d at 611.

       Defendants also challenge this Court’s jurisdiction to require them to make, and honor,

grants to the grantee networks. That challenge fails for the reasons explained in Plaintiffs’

opposition to Defendants’ motion to dissolve the TRO. See Dkt. 89 at 2-6. Defendants now add

that, since the Supreme Court’s emergency-docket order in Department of Education v.

California, No. 24A910, 145 S. Ct. 966 (2025) (per curiam), other courts have stayed or denied

“the types of remedies sought here.” Dkt. 88 at 34. But those other cases are distinguishable for

largely the same reasons as California itself—they involved competitive grant programs where

only the grant agreement, and not any statute, entitled the plaintiff grantees to funds. See Dkt. 89

at 5-6; Am. Ass’n of Colleges for Teacher Educ. v. McMahon, No. 1:25-CV-00702-JRR, 2025

WL 863319, at *10 (D. Md. 2025); Compl. ¶¶ 14-17, 40, Mass. Fair Housing Ctr. v. HUD, No.

25-cv-30041 (D. Mass. 2025) (ECF 1).

       For these reasons as well, Defendants’ argument that Plaintiffs’ APA claims are barred

because there are other adequate remedies at law is wrong. See Dkt. 88 at 44-45.

       C.      Plaintiffs Are Likely to Prevail on their APA Claims

       Defendants argue the APA claims are not ripe because USAGM is not “closed.” Dkt. 88 at

39. But Plaintiffs’ claims that Defendants are violating multiple laws and the Constitution do not

hinge on the Agency being completely “closed.” It hinges on their decision to abandon statutory

directives. As discussed above, on March 15, Defendants shut down all USAGM operations and

declared the Agency “not salvageable.” VOA, the heart of the agency, remains closed and has no




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prospect of resuming operations. And statutory grantees are still battling for their funding. 5 See

Third Schleuss Decl. ¶ 3. The Agency has made its decision and is carrying it out; there is no

ripeness issue.

       For these same reasons, Plaintiffs have identified discrete and final agency action subject

to judicial review. March 15 marked the “consummation of [the] agency’s decisionmaking process

to comply with the President’s executive order.” Drs. for Am. v. Off. of Pers. Mgmt., No. CV 25-

322 (JDB), 2025 WL 452707, at *5 (D.D.C. Feb. 11, 2025). It “bound [VOA] staff by forbidding

them to continue the [work of the agency] in any way from that moment on,” thereby making it

reviewable agency action. Biden v. Texas, 597 U.S. 785, 808–09 (2022); see also Order Granting

TRO, Dkt. 54 at 7-8; Gomez v. Trump, 485 F. Supp. 3d 145, 193 (D.D.C. 2020) (agency’s

suspension of statutory duty amounts to final agency action). The fact that the ramifications of that

decision are still unfolding does not render the decision itself unreviewable. See NTEU, 2025 WL

942772, at *10-12. Nor does the fact that Defendants may later change their mind and allow some

employees to work undermine finality. “The mere possibility that an agency might reconsider . . .

does not suffice to make an otherwise final agency action nonfinal.” Sackett v. EPA, 566 U.S. 120,

127 (2012); Nat’l Env’t Dev. Ass’ns Clean Air Project v. EPA, 752 F.3d 999, 1006 (D.C. Cir.

2014) (“An agency action may be final even if the agency’s position is ‘subject to change’ in the

future.”). Defendants do not dispute that the decision affected rights or obligations or effected legal

consequences.




5
  Defendants’ claim that Plaintiffs’ APA claims “at bottom” challenge the EO is confusing and
baseless. Dkt. 88 at 43. As our opening brief said, “The order purports to respect Congressional
decision-making by preserving USAGM’s ‘minimum presence and function required by law.’ But
that is not how the order has been carried out[.]” Dkt. 17 at 20. Plaintiffs’ APA claims plainly
challenge Defendants’ actions to implement the EO.

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       In painting this case as a “programmatic attack,” Defendants gloss over the distinction

between court orders requiring an Agency to take legally compelled action (this case), and those

micromanaging the manner in which an Agency fulfills its statutory duties (not this case). See Am.

Hosp. Ass'n v. Burwell, 812 F.3d 183, 191 (D.C. Cir. 2016). In simplest terms, Plaintiffs’ APA

claims point to mandatory statutory directives on the one hand, and the literal radio silence of VOA

programming on the other (as well as cessation of mandatory grants). This is a classic APA action,

the scope of which is immense only because of the magnitude of Defendants’ noncompliance. See

NTEU, 2025 WL 942772, at *12 (“Defendants can hardly complain that the focus of the action is

too broad; it was the[y] who chose to paint with a broad brush, not plaintiffs.”); see also Oceana,

Inc. v. Locke, 670 F.3d 1238, 1243 (D.C. Cir. 2011) (APA relief awarded where agency did not

comply with statutory commands).

       Defendants devote fewer than two pages to the merits of whether they have violated the

APA. Dkt. 88 at 42-43. Remarkably, they are silent on Plaintiffs’ claim that Defendants have acted

arbitrarily and capriciously, notwithstanding that Judge Oetken premised the TRO partly on that

basis. Dkt. 54 at 8-10. Even if USAGM could lawfully abandon its statutory duties (it clearly

cannot, explained below), it would still need to explain such a dramatic shift in policy and

demonstrate reasoned, considered decision-making that accounts for reliance interests. Encino

Motorcars, LLC v. Navarro, 579 U.S. 211, 221 (2016). Defendants have failed to offer any reason

to depart from Judge Oetken’s reasoning that they likely violated the APA.

       Defendants also do not address their statutory responsibility to make grants to the statutory

grantees, including 22 U.S.C. §§ 6204(a)(4), (5), 6208(a)(1), nor do they address their brazen

violation of the relevant Appropriations Acts, see Compl. ¶¶ 45-48.




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       Defendants do argue that by keeping OCB on-air, they have complied with their statutory

duties. As discussed above, OCB represents a small component of USAGM and cannot carry out

all its statutory mandates. See Dkt. 54 at 14-15 (Judge Oetken holding as much). OCB is separate

from VOA, which is required by 22 U.S.C. § 6202(c) and § 6202(b)(3) to be on the air. Broadcast

to only Cuba, moreover, is not “designed so as to effectively reach a significant audience,” id.

§ 6202(a)(7), does not “meet needs which remain unserved by the totality of media voices

available to the people of certain nations,” does not include “information about developments in

each significant region of the world,” and does not present “a variety of opinions and voices from

within particular nations and regions prevented by censorship or repression from speaking to their

fellow countrymen.” Id. § 6202(b)(5)-(7); see also Me. Cmty. Health Options v. United States, 140

S. Ct. 1308, 1320 (2020) (“shall” connotes a non-discretionary “requirement”).

       Moreover, although the North Korean and Iran programming mandates are phrased in less

mandatory terms than VOA’s mandates and the USAGM broadcasting standards, it is absurd to

claim that by broadcasting nothing at all to those countries, USAGM is in compliance with

Congress’s directive that USAGM establish “a goal of providing 12-hour-per-day broadcasting to

North Korea,” 22 U.S.C. § 7813, and develop a “strategy to” broadcast to Iran 24/7, 22 U.S.C.

§ 8754(7)(A). Courts can discern from a statutory scheme “congressional intention to pursue a

general goal. If the agency action is found not to be reasonably consistent with this goal, then the

courts must invalidate it.” Robbins v. Reagan, 780 F.2d 37, 45 (D.C. Cir. 1985).

       D.      Plaintiffs Are Likely to Succeed on the Merits of their Ultra Vires and
               Mandamus Claims

       Plaintiffs already addressed Leedom v. Kyne, 358 U.S. 184 (1958), and its hand-in-glove

fit with this case in their earlier brief, Dkt. 89 at 16-17. In sum, (i) there is no express statutory

preclusion at play in this case; (ii) USAGM is in violation of unambiguous statutory mandates,


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discussed above; and (iii) Defendants do not argue that any administrative body could order it to

comply with those mandates. The ultra vires claim is therefore properly pled and mandamus is an

appropriate judicial remedy. See In re Aiken Cnty., 725 F.3d 255, 266–67 (D.C. Cir. 2013)

(Kavanaugh, J.) (exercising mandamus where executive agency “disregard[ed] federal law”).

       Nor are Plaintiffs’ claims purely statutory. Dkt. 88 at 51. “When the President takes

measures incompatible with the expressed or implied will of Congress, his power is at its lowest

ebb, for then he can rely only upon his own constitutional powers minus any constitutional powers

of Congress over the matter.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952)

(Jackson, J., concurring). Defendants refuse to perform statutorily required functions and are

withholding mandatory appropriations. Because they are acting directly contrary to Congressional

mandates, the only source of power that they could plausibly rely on is the Constitution. See id.;

Lincoln v. Vigil, 508 U.S. 182, 193 (1993) (“[A]n agency is not free simply to disregard statutory

responsibilities[.]”); In re Aiken Cnty., 725 F.3d at 259 (“[T]he Executive [and subordinate

executive agencies] must abide by statutory mandates and prohibitions.”).

       Defendants’ reliance on Dalton v. Specter, 511 U.S. 462 (1994), is therefore inapposite.

Dalton “merely stands for the proposition that when a statute entrusts a discrete specific decision

to the President and contains no limitations on the President's exercise of that authority, judicial

review of an abuse of discretion claim is not available.” Chamber of Com. of U.S. v. Reich, 74 F.3d

1322, 1331 (D.C. Cir. 1996). Here, “[w]hile the government disputes whether it is engaged in the

elimination of [USAGM] as a matter of fact, it is not suggesting that doing so would have been an

exercise of discretion authorized by the statute in question as the Secretary's actions were in

Dalton.” NTEU, 2025 WL 942772, at *8-9; see also Aids Vaccine Advoc. Coal. v. United States




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Dep't of State, No. CV 25-00400 (AHA), 2025 WL 752378, at *17 (D.D.C. Mar. 10, 2025) (also

rejecting Dalton argument).

       E.      Defendants’ Gutting USAGM to Suppress Reporting they Dislike Is Textbook
               Viewpoint Discrimination in Violation of the First Amendment

       Plaintiffs are likely to succeed on the merits of their First Amendment viewpoint

discrimination claim. First, as Judge Howell concluded in Turner, the First Amendment protects

USAGM broadcasters’ speech, pursuant to the balancing test articulated by the Supreme Court in

Pickering v. Bd. of Educ. of Twp. High Sch. Dist. 205, Will Cnty., Ill., 391 U.S. 563 (1968). Second,

the Trump Administration’s own statements, including various public statements by Defendant

Lake, make clear that they decided to gut USAGM and stop its journalism to silence viewpoints

Defendants disagree with. Third, Defendants’ asserted interest in “balanced” coverage does not

outweigh Plaintiffs’ interest in commenting upon matters of public concern.

               1.      Pickering Applies to Plaintiffs’ First Amendment Claims

       Plaintiffs agree that when typical government employees speak “pursuant to their official

duties,” their speech is generally not protected by the First Amendment pursuant to Garcetti v.

Ceballos, 547 U.S. 410 (2006). But the individual Plaintiffs here are not typical government

employees and their speech is not pure government speech. See id. at 425 (recognizing the work

of certain government employees “implicates additional constitutional interest that are not fully

accounted for by [the Supreme Court’] customary employee-speech jurisprudence”); Tripp v.

Dep’t of Defense, 284 F. Supp. 2d 50, 55-57 (D.D.C. 2003) (reporters for DOD-published Stars

and Stripes entitled to First Amendment protections). They are journalists and production support

staff who work for a sui generis agency—one that has a statutory mandate to produce journalism

with “professional independence and integrity.” 22 U.S.C. § 6204(b). Recognizing VOA

employees’ unique position as both government employees and newsmakers, Judge Howell


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concluded in Turner that “speech made in relation to editorial and journalistic activities [of

government-employed journalists] is protected under the First Amendment, using the analysis set

forth in Pickering,” and is “not fully accounted for by Garcetti.” Turner, 502 F. Supp. at 375-76.

Turner is the definitive case on USAGM employees’ First Amendment rights.

       Defendants do not offer any reason to depart from Turner’s sound analysis or even analyze

Turner’s reasoning. Instead, they simply assert that Turner is “not controlling or precedential,”

Dkt. 88 at 22, 6 and generally point to Garcetti and other cases where the speech at issue, unlike

the speech here and in Turner, was pure government speech. See, e.g., Pleasant Grove City, Utah

v. Summum, 555 U.S. 460 (2009) (placement of religious monument in public park); Nat’

Endowment For Arts v. Finley, 524 U.S. 569 (1998) (National Endowment for the Arts statutory

merit criteria did not violate First Amendment); Walker v. Texas Div., Sons of Confederate

Veterans, Inc., 576 U.S. 200 (2015) (Texas specialty license plate designs). The Court should

follow Judge Howell’s well-reasoned opinion in Turner and analyze Plaintiffs’ First Amendment

claims under the Pickering framework.

               2.     Defendants Are Restraining Plaintiffs’ Speech on Matters of Public
                      Concern Because of Plaintiffs’ Viewpoint

       The record makes clear that Defendants have silenced USAGM broadcasts, including

VOA—both because of the perceived “radical” viewpoint of USAGM’s reporting, generally, and



6
 In passing, Defendants cite Achagzai v. Broadcasting Board of Governors for the proposition that
VOA’s content is government speech that is “not protected by the First Amendment.” No. 14-0768
(RDM), 2016 WL 471274, at *8 (D.D.C. Feb. 8, 2016). Unlike Turner, the court in Achagzai, an
employment discrimination case, did not engage in any First Amendment analysis before arriving
at this conclusion which is, at most, dicta. Relatedly, Jangjoo, another VOA employment case cited
by Defendants is inapposite because it involved a First Amendment employment retaliation claim
related to an employee’s internal complaints, not his journalism. See Jangjoo v. Broad. Bd. of
Govs., 244 F. Supp. 3d 160, 170 (D.D.C. 2017) (plaintiff’s internal emails “air[ing] grievances”
against supervisors were subject to Garcetti).

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VOA’s reporting on specific topics the White House deems off-limits. This muzzling of USAGM

journalists based on their perceived viewpoint violates the First Amendment.

       Defendants do not dispute that USAGM employees speak on matters of public concern.

Nor do Defendants contest that, as a result of Defendants’ pulling the plug on VOA and grantee

broadcasting, USAGM employees, including all Plaintiffs who contribute to USAGM reporting,

have been restrained from reporting on matters of public concern.

       Unable to contest these points, Defendants instead argue that these Plaintiffs’ First

Amendment rights are not implicated here because Defendants have halted all journalism at VOA

and grantee broadcasters, and not “singled out any one viewpoint.” Dkt. 88 at 24. In other words,

Defendants’ claim that because they took a chainsaw to an entire agency’s reporting instead of

using a scalpel to excise specific journalistic positions they disagree with, they did not run afoul

of the First Amendment. Defendants’ argument misses the mark for three reasons.

       First, Defendants are wrong in contending that viewpoint discrimination “[must be]

defined on its content.” Dkt. 88 at 24 (quoting United States v. Playboy Ent. Group, Inc., 529 U.S.

803, 811 (2000)) (modification in Defendants’ brief). Defendants deceptively modify the Playboy

quote to imply that it articulated a test for viewpoint discrimination, rather than merely discussing

“the speech at issue” in that case. 529 U.S. at 811. In reality, the Supreme Court has held the

opposite: viewpoint discrimination does not require a content-based purpose, see Turner Broad.

Sys. v. F.C.C., 512 U.S. 622, 642 (1994) (“[W]hile a content-based purpose may be sufficient in

certain circumstances to show that a regulation is content-based, it is not necessary to such a

showing in all cases.”), and has clarified that viewpoint discrimination is impermissible if it is

based on animus, even if facially neutral, see Reed v. Town of Gilbert, 576 U.S. 155, 164 (2015).




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       Second, here, Defendants’ public statements demonstrate that they do disagree with the

content of Plaintiffs’ speech, and that Defendants’ actions are based on animus. For example, in a

press release that was issued regarding Defendants’ shutdown of VOA, see Dkt. 16-2, the Trump

administration characterized VOA as “[t]he Voice of Radical America” and explained that

Defendants’ actions were “taken to ensure that taxpayers are no longer on the hook for radical

propaganda.” Meanwhile, Defendant Lake issued a press release characterizing VOA’s reporting

as “parrot[ing] the talking-points of America’s adversaries” and described USAGM staff as

“terrorist sympathizers.” Dkt. 16-3. Such statements constitute irrefutable evidence of viewpoint

discrimination.

       Third, contrary to Defendants’ assertion that “Plaintiffs do not point to any specific

viewpoint-based content that they allege has been suppressed,” Dkt. 88 at 25, Plaintiffs’ record

unambiguously demonstrates that Defendants are targeting specific, articulable viewpoints.

Defendants overlook that the White House’s VORA Statement—issued the same day Defendants

gutted USAGM—included concrete examples of VOA viewpoints the Trump administration

considers too “radical” to publish. See Dkt. 16-B. These off-limits topics include, among others,

“anti-Trump comments,” an article about “white privilege,” an article “downplaying the validity

of the Hunter Biden laptop story,” coverage “too favorable to . . . Joe Biden,” and a segment about

“transgender migrants seeking asylum in the United States.” Id. Defendants do not acknowledge

this White House press release at all, though it constitutes direct evidence of Defendants

discriminating on the basis of VOA journalists’ specific “opinion[s] or perspective[s].”

Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995).

       Defendants argue that “a finding of viewpoint discrimination depends on . . . hostility—or

favoritism—towards the underlying message expressed.” Dkt. 88 at 24. The White House’s and



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Defendant Lake’s statements demonstrate Defendants’ “hostility towards the underlying message

expressed” at VOA and its grantee broadcasters, triggering First Amendment scrutiny. Any other

conclusion would grant the government carte blanche to bypass the First Amendment’s prohibition

on viewpoint discrimination as long as the government silences an entire network on the basis of

its viewpoint instead of specific journalists or broadcasts. For example, if the White House

determined that CBS, as a broadcaster, published reporting with a viewpoint that was too “radical,”

and revoked CBS’s broadcast license to take its views off the air, such an action would clearly

constitute unconstitutional viewpoint discrimination. Here too, Defendants’ silencing of USAGM

broadcasters on the basis of their perceived “radical” viewpoint runs afoul of the First Amendment

(with the added caveat that Pickering applies because USAGM’s journalists are government

employees).

               3.      Defendants’ Claimed Interest in “Balanced” and “Comprehensive”
                       Coverage Does Not Outweigh Plaintiffs’ Speech Interests

       Turning to the second prong of the Pickering test, Plaintiffs’ “interest in commenting upon

matters of public concern” outweighs the “interest of [Defendants] in promoting the efficiency of

the public services it performs through its employees.” Sanjour v. E.P.A., 56 F.3d 85, 100 (D.C.

Cir. 1995) (cleaned up). “The D.C. Circuit has applied a sliding-scale approach at this stage, under

which “a ‘stronger showing’ of interference with the employer's operation ‘may be necessary if

the employee’s speech more substantially involve[s] matters of public concerns,’” Turner, 502 F.

Supp. 3d at 377 (quoting LeFande v. D.C., 841 F.3d 485, 494 (D.C. Cir. 2016)), and “has

recognized that USAGM and its media outlets have an interest in maintaining an appearance of

‘the highest journalistic credibility’ that is owed weight in the Pickering analysis,’” id. (quoting

Navab-Safavi v. Glassman, 637 F.3d 311, 316 (D.C. Cir. 2011)). Because Plaintiffs’ speech




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substantially involves matter of public concern, Defendants must make a “stronger showing” with

respect to the second prong of the Pickering test.

       As an initial matter, Defendants now abandon the interests they originally asserted

regarding their gutting of USAGM and mass silencing of USAGM’s journalism: stopping

perceived “radical” reporting and unspecified “[w]aste, fraud, and abuse.” Dkt. 16-3. Those two

goals, which the White House and Defendant Lake repeated in public statements, do not appear

anywhere in Defendants’ Pickering analysis. For the reasons provided in Plaintiffs’ opening brief,

neither passes scrutiny under Pickering.

       Instead, Defendants now attempt to sidestep Pickering and assert, as a blanket rule, that

the IBA gives them the authority to gut USAGM and silence USAGM’s journalism to advance the

government’s “foreign policy objectives” and ensure that “those objectives are being presented in

a ‘balanced’ and ‘comprehensive’ way.” Dkt. 88 at 26 (quoting 22 U.S.C. § 6202(b)(2)). Here, as

in Turner, the Court should reject Defendants’ effort to weaponize 22 U.S.C. § 6202(b)(2) and use

it to undermine the journalistic integrity of USAGM, obliterate the Statutory Firewall, and violate

the First Amendment rights of USAGM employees.

       In granting a preliminary injunction in Turner, Judge Howell held that the defendants’

actions, which, like here, were taken “on the basis of perceived viewpoint,” “weigh[ed] heavily

against defendants in the Pickering analysis.” Id. at 381. In so holding, Turner explicitly rejected

the same argument Defendants advance here: that, under 22 U.S.C. § 6202(b)(2), defendants must

be able to “ensure that VOA and the networks present a balanced and comprehensive projection

of United States thought and institutions.” Id. at 382 (cleaned up); see Dkt. 88 at 26. Following

Turner’s reasoning, in light of the Statutory Firewall and “the IBA’s separation of evaluative and

review responsibilities from the day-to-day responsibilities assigned to the networks, any argument



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that it is ‘reasonably necessary’ under the IBA regime” for Defendants to gut the agency and pull

the plug on all broadcasting “is questionable at best.” Turner, 502 F. Supp. 3d at 382. After all,

“more tailored methods,” short of gutting the agency and halting broadcasts, “are available if

defendants wish to monitor VOA and network coverage in order to carry out their statutory

responsibilities.” Id. “For example, VOA’s Best Practices Guide anticipates that USAGM

leadership will communicate challenges to VOA’s reporting down the chain, presenting one

alternative forum through which defendants could seek information about VOA stories.” Id.

(cleaned up). Defendants’ chainsaw approach is not reasonably necessary to advance its asserted

interest and therefore fails the Pickering balancing test.

       F.      Defendants’ Shuttering of USAGM Networks Violates Plaintiffs Jerreat’s and
               Doe 1’s First Amendment Right to Exercise of Editorial Discretion

       Defendants agree that Plaintiffs Jerreat and Doe 1 are both full-time employees who are

editors at VOA and have been placed on administrative leave. Dkt. 88 at 26-27. Defendants

therefore concede that these editor plaintiffs have been barred from exercising any editorial

discretion at VOA. Nevertheless, Defendants argue that these Plaintiffs’ right to exercise editorial

discretion is not implicated because Defendants have not told them “what they could and could

not write about.” Dkt. 88 at 27. This is another version of their viewpoint discrimination argument,

addressed above, that Defendants’ gutting of USAGM cannot trigger First Amendment scrutiny

because it silenced the entire agency and not specific stories.

       Yet again, Defendants ignore the Trump administration’s own statements, which

demonstrate that Defendants halted all journalistic and editorial activity at VOA, including

Plaintiffs Jerreat’s and Doe 1’s exercise of editorial discretion, to purge USAGM and its

broadcasters of “radical” viewpoints, including journalism regarding topics the White House

doesn’t like. See Dkt. 16-3. The White House’s VORA Statement explained that Defendants’


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actions were taken to stop “radical propaganda” at VOA, including coverage featuring “anti-

Trump comments” and which was “too favorable to . . . Joe Biden”—precisely the type of editorial

interference the First Amendment prohibits. See Miami Herald Pub. Co. v. Tornillo, 418 U.S. 241,

258 (1974) (“The choice of material to go into a newspaper . . . and treatment of public issues and

public officials—whether fair or unfair—constitute the exercise of editorial control and judgment”

that is protected by the First Amendment). Defendants cannot hide from their own public

statements, including the VORA Statement’s list of editorial topics that are, from the Trump

administration’s perspective, too “radical” to publish.

       G.      Defendants’ Silencing of USAGM Reporting Violates the RSF Plaintiffs, TNG-
               CWA, and Their Members’ First Amendment Right to Receive

       Defendants’ shutdown of USAGM’s broadcasts violates RSF, TNG-CWA, and their

members’ First Amendment right to receive comprehensive news that USAGM’s networks are

statutorily mandated to broadcast. The First Amendment “protects the right to receive” information

and ideas. Stanley v. Georgia, 394 U.S. 557, 564 (1969); see Lamont v. Postmaster Gen., 381 U.S.

301, 307 (1965). Defendants do not dispute this. Their sole claim is that there is no right to

USAGM-funded “information beyond the statutory minimum requirements established by

Congress.” ECF 88 at 28. This argument fails for two reasons.

       First, Defendants’ violations of USAGM’s governing statute are precisely what infringes

Plaintiffs’ right to receive. As Judge Oetken found in granting the TRO, USAGM’s statutory

requirements cannot “be effectuated if the agency has been shuttered,” and its retention of sixty-

four employees to support the OCB was “hardly sufficient for USAGM’s affiliates to ‘reach a

significant audience.’” Dkt. 54 at 14-16. See supra at 1.C.

       Second, the Supreme Court and courts in this circuit and others have found a First

Amendment right to receive information “in a variety of contexts.” Student Press Law Ctr. v.


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Alexander, 778 F. Supp. 1227, 1233 (D.D.C. 1991) (reporting by student press on campus crime). 7

Defendants’ argument that there is no caselaw on the specific right to receive “Global Media-

funded information,” Dkt. 88 at 28, plainly contradicts the consistent understanding that the right

exists in multiple contexts. Notably, Defendants do not argue their actions would satisfy any level

of scrutiny required by the burden placed on Plaintiffs’ right to receive information. Nor could

they—Defendants’ attempts to advance a purported interest in stopping “radical” reporting does

not satisfy First Amendment scrutiny.

       H.      Defendants’ Gutting of USAGM Violates the Statutory Firewall

       As explained above, Defendants have not innocuously “pressed the pause button” at

USAGM, contra Dkt. 88 at 38; they have pulled the plug on broadcasting, placed nearly all

employees on administrative leave, and caused the majority of grantee employees to be furloughed

on the basis of their perceived “radical” viewpoint and coverage of topics the White House has

deemed off-limits. Likewise, Plaintiffs are not merely “unhappy with the direction in which

[VOA] is going.” Contra id. Since over a month ago, VOA has not changed “direction[s],” it has

functionally ceased to exist. The Statutory Firewall does not allow Defendants to “step[] into the

newsroom themselves” and impose their editorial and journalistic prerogatives onto USAGM’s

broadcasting, as they have done here. Turner, 502 F. Supp. 3d at 382. 8 Nor does it permit




7
  See, e.g., Board of Educ. v. Pico, 457 U.S. 853, 868 (1982) (school libraries); Red Lion Broad.
Co. v. F.C.C., 395 U.S. 367, 390 (1969) (radio broadcasting); Va. State Bd. of Pharmacy v. Va.
Citizens Consumer Council, 425 U.S. 748, 757, (1976) (advertising); Taylor v. ADR Tr. Corp., 56
F.3d 1497, 1508 (D.C. Cir. 1995), opinion amended on reh’g, 66 F.3d 1226 (D.C. Cir. 1995)
(whistleblowing); In re Application of Dow Jones & Co., 842 F.2d 603, 607 (2d Cir. 1988) (news
media seeking information from participants in a criminal trial).
8
 Plaintiffs did not move for emergency relief based on their Appointments Clause claim (Count
IX). Plaintiffs therefore do not address Defendants’ arguments on that claim at this juncture.

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Defendants’ wholesale, ultra vires gutting of USAGM on the basis of its journalists’ perceived

viewpoint. 9

II.    PLAINTIFFS FACE IRREPARABLE HARM

       Defendants fail to address much of the “laundry list” of irreparable harms that Judge

Oetken identified, Dkt. 54 at 16-20, focusing only on what they characterize as “adverse

employment actions,” Dkt. 88 at 52-53. Defendants therefore apparently concede that Plaintiffs

face irreparable harm from: (1) threats to Agency efficacy in the event it ever resumes its functions,

including the documented difficulty of regaining an audience built over the course of 80 years; (2)

harm to RSF Plaintiffs who rely on VOA while living and reporting abroad; and (3) harm to Does

3 and 4 from the loss of their visas. See Dkt. 54 at 16-20. 10

       Defendants also do not address the irreparable harm TNG-CWA and its members face.

Members who work at RFA have been furloughed without pay since March 21. RFA cannot return

those employees to pay status until USAGM agrees to resume its grant funding on a consistent

basis. Not only do members face unemployment, but they also face losing their health insurance

as soon as May 1. See Third Schleuss Decl. ¶¶ 4-6. That presents an acute problem for at least

three members whose reliance on health insurance is detailed at paragraph 7. Such harm is

irreparable. See Risteen v. Youth For Understanding, Inc., 245 F. Supp. 2d 1, 16 (D.D.C. 2002).

Moreover, RFA’s 35 H1B-visa workers face furlough as soon as April 18, which places them at


9
  Relatedly, the Statutory Firewall is not “committed to agency discretion by law” or otherwise
incapable of judicial review. Contra Dkt. 88 at 35. 22 U.S.C. § 6204(b) is mandatory: it requires
the USAGM CEO to “respect the professional independence and integrity of the Agency” and its
broadcasters. Defendant Lake’s and the Trump administration’s public statements impugning
USAGM’s broadcasters’ journalistic independence and integrity are direct proof of Defendants’
violation of the Statutory Firewall
10
  As an update, once Doe 3’s J1 visa expires he will have to leave the United States, but he has
received a waiver from the obligation to return to his home country for two years after departing
the United States. Cf. Doe 3 Decl. ¶ 3.

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risk of being deported to their home countries, which include repressive regimes that punish

journalists. See id. ¶ 8; see also Dkt. 16-15 ¶ 10 (detailing Vietnam’s persecution of journalists,

including those working on USAGM programming); Dkt. 16-16 ¶ 13 and pages 14-15, 21-22

(TNG-CWA member statements). TNG-CWA members who do not work at RFA, but who travel

abroad for their reporting, rely on VOA to inform their own reporting and personal safety. They

are similarly irreparably harmed as listeners by its silence. See Dkt. 16-16 ¶¶ 15-16.

        The harm to the public-sector union plaintiffs, supra at I.A, alone establishes irreparable

harm. See League of Women Voters of United States v. Newby, 838 F.3d 1, 8-9 (D.C. Cir. 2016)

(“obstacles” that “make it more difficult for” organizations “to accomplish their primary mission

. . . provide injury for purposes both of standing and irreparable harm”). Moreover, the fact that

USAGM has not yet carried out its “decision” to terminate union members—because it has been

barred from doing so by the TRO in this case—does not change that the unions face the decimation

of their membership, and in AFSCME’s case, the elimination of the entire bargaining unit that

Local 1418 represents. Dkt. 33-2 ¶¶ 3-6, Dkt. 33-2 at 5; Dkt. 33-3 at 6 (“notice of management’s

decision to implement a reduction in force,” including “plan to send termination notices to” 623

union-represented employees “in the next few weeks”). “Damocles's sword does not have to

actually fall on all appellants before the court will issue an injunction.” Id. at 9.

        Moreover, none of the Plaintiffs’ harms are mere employment harms remediable through

damages. Plaintiffs face losing their jobs at a sui generis Agency to whose mission they have

dedicated their professional careers. The loss is in service of ending, at least, VOA and RFA

broadcasts. This is a “genuinely extraordinary situation.” Sampson v. Murray, 415 U.S. 61, 92

(1974). It is “unlikely [Plaintiffs] could ever find work approaching what [they] now do[]” because

this work does not exist elsewhere. Bonds v. Heyman, 950 F. Supp. 1202, 1215 (D.D.C. 1997)



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(finding irreparable harm from loss of employment at Smithsonian). Moreover, without

preliminary relief, the Agency stands to fall apart, meaning there will be no USAGM to return to.

Does 3 and 4 also face the imminent loss of health insurance. Doe 4 Decl. ¶ 4. Moreover, in

eliminating Plaintiffs’ jobs, Defendants have labeled them spies and terrorist sympathizers, among

other things. See supra at p.2. 11 These are not run-of-the-mill employment harms.

       Finally, this is a First Amendment case. Roman Cath. Diocese of Brooklyn v. Cuomo, 592

U.S. 14, 19 (2020) (per curiam) (even short loss of First Amendment rights is irreparable).

III.   THE BALANCE OF THE EQUITIES AND PUBLIC INTEREST FAVOR A
       PRELIMINARY INJUNCTION

       Plaintiffs incorporate their arguments from their opposition to Defendants’ motion to

dissolve the TRO. See Dkt. 89 at 18-20. Defendants argue that their interest in complying with the

EO outweighs any public interest favoring an injunction. They ignore that their actions are contrary

to the EO, see supra at 1-2. They also ignore the “substantial public interest in having

governmental agencies abide by the federal laws that govern their existence and operations.”

Newby, 838 F.3d at 12; see also NTEU, 2025 WL 942772, at *43 (rejecting government’s exact

same equities argument). And they ignore the public interest in international broadcast. See

RFE/RL, Inc. v. Lake, No. 1:25-CV-799-RCL, 2025 WL 900481, at *4 (D.D.C. Mar. 25, 2025);

see generally Yazdgerdi Decl. (detailing harm to this interest).

IV.    THERE IS NO BASIS TO ARTIFICIALLY NARROW RELIEF

       The diverse coalition of Plaintiffs in this case all rely on USAGM’s continued

functionality, including its fulfillment of its statutory broadcast requirements and its grantmaking




11
   Defendants’ assertion that “Voice of America employees generally are not parties to this lawsuit”
is wrong, given that the named Plaintiffs are, as are members of AFSCME, AFGE, and AFSA.
Moreover, Plaintiffs do assert third-party standing. Dkt. 17 at 42-43.

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obligations. The comprehensive relief Plaintiffs request is necessary to keep the Agency intact,

and performing its statutory duties, so that it is not irretrievably lost at the end of this litigation.

The record shows that going dark after 80 years of continuous broadcast threatens the Agency’s

future viability, as would dispensing with its dedicated and specialized staff. Dkt 16-13 ¶ 18; Dkt.

16-16 ¶ 19. A comprehensive injunction is therefore “necessary to provide complete relief.”

Califano v. Yamasaki, 442 U.S. 682, 702 (1979).

V.     NO BOND SHOULD BE REQUIRED

       The government’s bond request should be denied. “[N]o bond” is required where it would

effectively deny “plaintiffs their right to judicial review of administrative action.” Nat’l Council

of Nonprofits v. OMB, No. CV 25-239 (LLA), 2025 WL 597959, at *19 (D.D.C. Feb. 25, 2025)

(citing cases). That arises where a bond would “hold Plaintiffs hostage” for the harm from the

government’s unlawful withholding of “previously committed funds.” Id. (noting that defendants

“will personally face no monetary injury from the injunction”). These concerns animated Judge

Oetken’s bond waiver and are unchanged now. Dkt. 54 at 21; see also Dkt. 89 at 19. Nor is a stay

pending appeal merited based on Defendants’ bare, unreasoned request for one.

                                          CONCLUSION

       For the foregoing reasons and those provided in Plaintiffs’ opening brief, Plaintiffs’ motion

for a preliminary injunction should be granted.




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Dated:         April 16, 2025
               New York, New York
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                                                   ** Pro hac vice application pending




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 The views expressed herein do not purport to represent the institutional views of Yale Law
School, if any.
